                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                       ROANOKE DIVISION

  KEVIN WILHELM,                                          )
                                                          )
          Plaintiff,                                      )
                                                          )
  v.                                                      )       Civil Action No. 7:15-cv-00362
                                                          )
  AMERISTEP CORP., et al.1                                )       By: Elizabeth K. Dillon
                                                          )           United States District Judge
          Defendants.                                     )

                               MEMORANDUM OPINION AND ORDER

          In this products liability case, plaintiff Kevin Wilhelm alleges that he was injured when

  he fell from about twenty-five feet up in a tree while installing a tree step. He alleges that he had

  fully installed the tree step into the tree but that a defect in the step caused it to break into two

  pieces while he was standing on it. Specifically, he asserts that the tree step broke because of the

  location and size of an inclusion in its steel material. Defendants, who manufactured and

  distributed the subject tree step, do not dispute that the tree step broke or that there was an

  inclusion in it. They argue, however, that the tree step would not have broken if it had been fully

  installed, pointing to the testimony of their own experts on this point. They also contend that

  Wilhelm should not have been using the step at all due to his various health conditions and that

  he was either contributorily negligent or misused the product when he failed to install the tree

  step fully and failed to utilize his safety harness at all times in order to stay attached to the tree—

  instead, he detached it from the tree moments before falling.




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             A number of defendants in the case have been dismissed, including the first-named defendant in the case
  style, Evolved Ingenuity, LLC. The clerk is directed to change the style accordingly, as set forth above. The
  remaining defendants are Ameristep Corp. and Dick’s Sporting Goods, both of whom distributed the tree step, and
  Primal Vantage Company, Inc., the manufacturer.



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           Ten motions are addressed in this opinion, all of which were briefed and argued before

  the court: defendants’ motion for summary judgment, Wilhelm’s motion for partial summary

  judgment as to a number of affirmative defenses, and eight motions seeking to exclude some of

  the other side’s experts on various grounds. Because the expert motions affect the evidence

  available to the parties for summary judgment, the court addresses those first. The court’s

  rulings are summarized at the end of this memorandum opinion and set forth in the conclusion as

  an order.

                                                I. BACKGROUND2

  A. The Subject Tree Step

           The tree step at issue in this lawsuit is a product bearing the brand name of Ameristep

  Corp.—a 2011 Ameristep Grizzly model 104. It was manufactured by defendant Primal Vantage

  Company, Inc., and was purchased by Wilhelm at a Dick’s Sporting Goods store. According to

  Wilhelm, he had purchased or owned between 500 and 1,000 Grizzly model 104 tree steps at the

  time of the accident. (Wilhelm Dep. 97, Dkt. No. 196-1.)

           The tree step looks like a metal pipe that has been formed into a Z-like shape, and it is

  supposed to be made of 10B21 steel. The user installs the step by screwing the threaded end of

  the step into a tree until the vertical leg is nearly pushing on the tree. The other end has a slight

  bend to it. Once installed, the user steps on the tree step, and others, in order to reach a tree

  stand. As noted, the parties agree that there was an inclusion in the steel material from which the

  tree step was formed. The inclusion was located about two-thirds of the way down the threaded



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               This case has a lengthy procedural history, but the details of that history have no bearing on the motions
  before the court, and so this opinion does not discuss them at any length. In brief, Wilhelm originally filed suit in
  state court in late 2014. The case was then removed to the United States District Court for the Eastern District of
  Virginia, transferred here and assigned to another judge of this court, and eventually reassigned to the undersigned
  in December 2017. Since its reassignment, the parties requested extensions of time on various deadlines, including
  the trial date. The trial is now set to begin on December 4, 2018.

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  portion of the step (from the step end to the tip end), and the subject tree step broke at the place

  where the inclusion was located. Plaintiff asserts that the inclusion was a manufacturing defect

  that weakened the step and allowed it to break, while defendants assert that it was not a defect.

  B. The Accident

          On the day of the accident, Wilhelm was installing the subject tree step and about 24

  other tree steps, all of which would be used at a later date to install a treestand. (Wilhelm Dep.

  102.)   According to his testimony, Wilhelm was using his Hunter Safety System full body

  safety harness and lineman’s belt while he was installing the tree steps. He owned a secondary

  tree strap, which could also attach to his harness, but did not have it with him up in the tree. At

  the time of his fall, he had installed about 20 tree steps by hand already. (Wilhelm Dep. 102,

  109–10, 114–16, 120.)

          Wilhelm was approximately 25 feet up in the tree when he approached a “Y” in the tree.

  At that point, he unhooked his lineman’s belt to ascend above the “Y” in the tree. As noted, he

  did not have the tree strap (which attaches to the back of the safety harness) with him up in the

  tree, and he did not intend to use it that day. Wilhelm explained in his deposition that he

  believed it was safer to not use the secondary tree strap, and so he chose instead to maintain three

  points of contact (two feet and a hand or two hands and a foot) while transitioning the “Y” until

  he could reconnect his lineman’s belt. (Wilhelm Dep. 118–222, 126–27, 135.)

          Moments after disconnecting the lineman’s belt—and before he could reconnect it—he

  fell. According to Wilhelm, he had both hands on steps above him, he had his right foot planted

  on the subject tree step, and then he moved his left foot to climb up to the next step, shifting his

  weight to his right foot as he did so. Although he recalled making contact with his left leg on the




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  next tree step, it was at that time that the subject tree step broke and caused him to fall.

  (Wilhelm Dep. 126, 128–33, 135.)

           With regard to the use of the safety harness, Wilhelm admitted that, if he had connected

  the secondary tree strap from the rear of his full body safety harness to the tree before

  disconnecting the lineman’s belt, he would not have fallen to the ground when the tree step

  broke. But he testified that he would not have been able to maintain three points of contact while

  connecting that secondary strap because it would have required both hands to connect. He also

  testified that he believed that he still would have been injured, even if he had not fallen to the

  ground. Specifically, he testified that he believed he could have “taken a sustained blow to the

  head” and suffered what he called “suspension injuries.” He also admitted that if he had kept the

  lineman’s belt connected, but not used the safety harness, he would not have fallen to the ground.

  But he testified that he could not have “transitioned the Y” without removing the lineman’s belt.

  (Wilhelm Dep. 120–28, 134–35.)

           Defendants have a different version of how the accident occurred. First of all, they point

  to certain physical evidence to support their assertion that Wilhelm did not fully insert the tree

  step. This includes evidence that wood fibers and scratched surface paint were found only

  around a portion of the threaded portion of the tree step up to the inclusion, rather than the entire

  length of the threaded portion—as one would expect had the tree step been fully installed.

  (Defs.’ Resp. to Pl.’s Mot. Partial Summ. J. 3, Dkt. No. 134, at 3.)3 They also point out that

  Wilhelm testified he would normally not have placed two steps next to each other where he did,

  but he did so in order to stand on them to transition the “Y.” (Id.) From this, they argue that he

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             Wilhelm (through his experts) either disputes these observations about the wood fibers and paint
  scratches or counters them with explanations—other than an incomplete installation—as to why they might have
  been only on a portion of the threaded part of the tree step. By reciting these observations, the court is not
  suggesting that they are undisputed or that defendants’ interpretation of them is correct. It is simply noting that
  defendants rely on them to support their theory of how the accident occurred.

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  was using the subject tree step in a “temporary location,” and they rely on all of these facts and

  expert witness testimony to assert that he likely did not perform a full installation of the subject

  tree step. (See id.)

          They also claim that their experts’ testing “is consistent with Plaintiff falling after

  disconnect[ing] his lineman’s belt and grabbing the subject tree step to attempt to recover from a

  fall.” (Defs.’ Mem. Supp. Mot. Summ. J. 5, Dkt. No. 130, at 10.) In addition to their experts’

  testing, they point to EMS records where Wilhelm reported that he “fell 25 feet putting up [a]

  treestand, [and] thinks he ripped his right shoulder trying to catch self . . . .” (Id. (quoting

  Medical Record, Defs.’ Ex. 11).) They claim that their testing shows that a “dynamic” force

  must have acted upon the tree step to break it; Wilhelm’s simply stepping on it could not have

  caused the break. (Id.) Their theory of the accident, therefore, appears to be that he did not fully

  install the step, that something else caused him to slip or fall, and that, as he was falling, he

  grabbed at the tree step and it broke. (Id. at 14–15, Dkt. No. 130, at 19–20) (quoting defense

  expert Vogler’s conclusion that “for the subject tree step to fracture at the location of the

  inclusion would require both improper installation and a rapidly applied dynamic load”).)

          Wilhelm has claimed that certain injuries resulted from the accident, including a closed

  head injury that caused a traumatic brain injury, a Lisfranc fracture to his right foot, injuries to

  his right shoulder, and the exacerbation of some pre-existing injuries, including back problems.

  But neither causation nor the extent of his medical injuries are at issue with any of the motions

  addressed herein, and so the court does not address them further.

  C. Claims and Defenses

          In his most recent complaint, plaintiff asserted a negligent design defect claim and a

  negligent manufacturing defect claim, as well as a breach of warranty claim. At the summary



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  judgment stage, he made clear he was no longer pursuing a design defect claim. Then, at the

  pretrial conference held November 29, 2018, he informed the court that he would no longer be

  pursuing a negligence claim at all. The dismissal of that claim renders certain defenses

  inapplicable under Virginia law, as the court discusses below.

           Defendants’ briefing focused on three affirmative defenses—contributory negligence,

  misuse, and assumption of the risk.4 At the hearing, defense counsel began discussing “misuse”

  as a separate defense, but later clarified that the failure to install the step properly was part of the

  contributory negligence defense, not a separate “misuse” defense. Defense counsel also

  indicated that defendants were not pursuing other affirmative defenses. At the conclusion of the

  hearing, therefore, the court understood that defendants were pursuing only two affirmative

  defenses: assumption of the risk and contributory negligence.

           Then, in a post-hearing supplemental filing—albeit one that was not authorized by the

  court—defendants attempted to “clarify” statements that counsel made on the record. (Dkt. No.

  203). In contrast to counsel’s representations at the summary judgment hearing, defendants now

  state that they are maintaining both a “misuse” defense and a “failure to mitigate” defense.

  According to the filing, the misuse defense is based on the same actions by Wilhelm that

  defendants assert were negligent: using the tree step at all given his medical conditions, failing to

  fully install the tree step into the tree, and failing to properly use his lineman’s belt and
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              Although misuse is commonly referred to as a “defense” in products liability actions, neither of the
  parties’ proposed jury instructions contain any instruction indicating that the burden of proof is on defendants.
  Moreover, they both acknowledge that, to succeed on his breach of warranty claim, plaintiff must prove that the
  product was unreasonably dangerous either for the use to which it would ordinarily be put or for some other
  reasonably foreseeable purpose. See Jeld-Wen, Inc. v. Gamble, 501 S.E.2d 393 (Va. 1998) (discussing the concept
  as a component of duty); see also “Misuse—Whether misuse is a “defense”; burden of pleading and proof,” 2 Owen
  & Davis on Prod. Liab. § 13:23 (4th ed.) (“One reason the doctrine of misuse is difficult to apply is that there is no
  agreement on just what kind of legal doctrine it really is.”); “Misuse of the Product,” 11 Bus. & Com. Litig. Fed.
  Cts. § 109:81 (4th ed. 2018 Update) (noting that some jurisdictions treat misuse as an affirmative defense, while
  others have declared that foreseeable misuse is part of the plaintiff’s prima facie proof of defect and causation). The
  court thus uses the description of misuse as a “defense” only in a loose sense.



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  secondary tree strap to remain connected to the tree. The failure to mitigate defense, similarly, is

  premised on Wilhelm’s failure to properly use his safety harness. (Dkt. No. 203 at 3–4.)

  Defendants claim that his injuries would not have been as severe if he had slipped while

  connected to the tree.

          In light of the fact that the only claim plaintiff will be pursuing at trial is his breach of

  warranty claim, the court concludes that both contributory negligence and assumption of the risk

  are no longer applicable in this case. Wood v. Bass Bro Shops, 462 S.E.2d 101, 103 (Va. 1995).

  Defendants have cited no authority to the contrary.5 Thus, the court’s analysis on summary

  judgment will be limited to defendants’ assertions of misuse and failure to mitigate.

                                                 II. DISCUSSION

  A. Motions to Exclude Experts

          As noted, there are eight motions in which the parties seek to exclude part or all of the

  testimony and/or reports of an opposing expert. The court first addresses defendants’ motions

  and then turns to Wilhelm’s. The court notes at the outset, though, that it denies without

  prejudice all of the motions to the extent that they argue that certain evidence should be excluded

  as cumulative. Whether or not certain evidence is cumulative depends on the presentation of

  evidence at the trial. In the absence of more information about which witnesses are being called

  when, what questions they are being asked, or what their precise testimony is, the court will not

  exclude evidence on the basis that it is cumulative prior to trial. The parties are free to raise that

  objection at trial with regard to any evidence, including the evidence discussed in this opinion.



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              At the summary judgment stage, instead, defendants argued that the damages from any breach of
  warranty cannot include consequential damages for personal injuries, and thus any damages on this claim would be
  limited to the difference between a defective and non-defective step, or about $2. Wilhelm disputes this proposition
  and asserts he is entitled to consequential damages on his breach of warranty claim, citing Virginia Code § 8.2-
  715(2)(b). (Reply 6, Dkt. No. 175.) Neither party has asked for summary judgment on this legal issue concerning
  damages, however, and it is not before the court at this time.

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          Additionally, as to all of the parties’ experts, the court notes that experts will not be

  permitted to testify as to opinions not previously and properly disclosed. Likewise, where an

  expert testified that he had no opinion about a specific subject, he may not offer any opinions on

  that subject.

          With regard to the remaining grounds for the motions to exclude or strike, they are based

  either on an alleged lack of qualifications of a given expert or on assertions that the testimony is

  inadmissible under Federal Rule of Evidence 702 and the standards established in Daubert v.

  Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). The court discusses briefly the

  standards governing each of these potential bases for exclusion of expert testimony.

          As to the qualifications of a proposed expert, a witness may qualify as an expert on the

  basis of “knowledge, skill, experience, training, or education.” Fed. R. Evid. 702. Additionally,

  the expertise must relate to the areas in which the expert is expressing opinions. See Thomas J.

  Kline Inc. v. Lorillard, Inc., 878 F.2d 791, 800 (4th Cir. 1989). Exclusion should only occur

  where all bases for expertise are lacking with regard to the issue for which the opinion is offered,

  and a proffered expert “need not be precisely informed about all details of the issues raised in

  order to offer an opinion.” Kopf v. Skyrm, 993 F.2d 374, 377 (4th Cir. 1993) (citing Thomas J.

  Kline, Inc., 878 F.2d at 799).

          But while the test for exclusion may be a “strict one,” Kopf, 993 F.2d at 377, some type

  of relevant expertise is nonetheless required. For example, where experience is one of the bases

  for a witness’s expertise, the witness must “explain how [his] experience leads to the conclusion

  reached, why [his] experience is a sufficient basis for the opinion, and how [his] experience is

  reliably applied to the facts.” Radiance Found., Inc. v. Nat’l Ass’n for the Advancement of

  Colored People, 27 F. Supp. 3d 671, 674 (E.D. Va. 2013) (citations omitted). Additionally, a



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  witness’s expertise must be tailored, to some degree, to the specific opinions offered and the

  particular facts in the case; general expertise or knowledge on a broad topic or general field may

  be insufficient, depending on the facts of a case. Shreve v. Sears, Roebuck & Co., 166 F. Supp.

  2d 378, 391–92 (D. Md. 2001) (“The fact that a proposed witness is an expert in one area, does

  not ipso facto qualify him to testify as an expert in all related areas.”) (citing Oglesby v. General

  Motors Corp., 190 F.3d 244, 247 (4th Cir. 1999)). In Oglesby, for example, the court held that

  the testimony of a well-qualified mechanical engineer was properly excluded where he had no

  specialized experience or expertise in evaluating either automobile manufacturing processes or

  the strength of plastic automobile component parts, and he failed to test or analyze the relevant

  part. 190 F.3d at 250–51.

           With regard to Daubert exclusion, the trial judge must act as a gatekeeper to ensure that

  any testimony concerning scientific, technical, or other specialized knowledge offered in support

  of a party’s claim is “not only relevant, but reliable.” 509 U.S. at 589; Kuhmo Tire Co. v.

  Carmichael, 526 U.S. 137, 147 (1999) (quoting same). The proponent of the testimony must

  establish its admissibility, although it need not prove its expert’s theory is correct. Cooper v.

  Smith & Nephew, Inc., 259 F.3d 194, 199 (4th Cir. 2001); Maryland Cas. Co. v. Therm–O–Disc,

  Inc., 137 F.3d 780, 783 (4th Cir. 1998). Indeed, “[v]igorous cross examination, presentation of

  contrary evidence and careful instruction on the burden of proof are traditional and appropriate

  means of attacking shaky but admissible evidence.” Daubert, 509 U.S. at 596. Nonetheless,

  “[t]he main purpose of Daubert exclusion is to protect juries from being swayed by dubious

  scientific testimony.” Nease v. Ford Motor Co., 848 F.3d 219, 2131 (4th Cir. 2017) (citation

  omitted).




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           The Fourth Circuit has explained the Daubert standard as a “two-step gatekeeping

   function” required of trial courts. First, the trial court must ask whether proffered scientific

   evidence is valid and reliable. United States v. Barnette, 211 F.3d 803, 815 (4th Cir. 2000). The

   second question is whether the evidence will help the trier of fact, which is generally a question

   of relevance, or “fit”: assuming the evidence is reliable, will it “assist the trier of fact to

   understand or determine a fact in issue.” Maryland Cas. Co., 137 F.3d at 784 (quoting Daubert,

   509 U.S. at 592.

           Although the inquiry is a flexible one, several factors may bear on the determination of

   admissibility of scientific or other expert evidence:

                   (1) whether a theory or technique can be or has been tested; (2)
                   whether it has been subjected to peer review and publication; (3)
                   whether a technique has a high known or potential rate of error and
                   whether there are standards controlling its operation; and (4)
                   whether the theory or technique enjoys general acceptance within a
                   relevant scientific community.

   Daubert, 509 U.S. at 594. In short, the requirement is designed to ensure that the expert witness

   “employs in the courtroom the same level of intellectual vigor that characterizes the practice of

   an expert in the relevant field.” Kuhmo Tire Co., 526 U.S. at 152. Moreover, “nothing in either

   Daubert or the Federal Rules of Evidence requires a district court to admit opinion evidence that

   is connected to existing data only by the ipse dixit of the expert.” Id. at 157 (quoting General

   Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997)).

           1. Defendants’ motion to exclude plaintiff’s metallurgist R. Craig Jerner, Ph.D.

           Defendants move to exclude plaintiff’s proffered expert R. Craig Jerner, a metallurgist.

   Jerner, who along with defense expert Vogler conducted joint destructive testing of the subject

   tree step, passed away unexpectedly after he had prepared his report and had been deposed.

   Thereafter, plaintiff retained Dr. Baron as a substitute metallurgist expert.

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           Defendants argue that Jerner’s opinions should be excluded as hearsay and because they

   are otherwise inadmissible expert testimony. Defendants focus largely on their contention that

   expert witness reports are inadmissible hearsay and that the report cannot come in through other

   experts. In response, Wilhelm notes the importance of Jerner to his case, and he also notes that

   Jerner’s report was relied upon by other experts (and would typically be relied upon by those

   experts in their fields) and thus that his report and his opinions should be admissible. Wilhelm

   also argues that Jerner’s testimony is not all cumulative with Dr. Baron’s despite defendants’

   arguments to the contrary. Lastly, Wilhelm argues that Jerner’s deposition testimony is

   admissible under Federal Rule of Civil Procedure 32(a)(4)(A).

           At the hearing, defendants did not dispute the admissibility of Jerner’s deposition

   testimony, nor could they, as it is clearly allowed under Rule 32(a)(4)(A): “A party may use for

   any purpose the deposition of a witness, whether or not a party, if the court finds that the witness

   is dead.” Of course, the testimony generally is subject to objections on the same grounds as if

   Jerner were testifying. Fed. R. Civ. P. 32(b). On that issue, defendants objected on the grounds

   that Jerner’s testimony was cumulative to Baron’s. As noted above, the court will not address

   that prior to hearing the evidence at trial.

           Although Wilhelm argued in his written briefing that Dr. Jerner’s report itself is

   admissible, counsel’s argument at the hearing left it unclear to the court as to whether Wilhelm

   still seeks to introduce Dr. Jerner’s report itself. To the extent Wilhelm is so arguing, he may

   assert appropriate grounds for the admissibility of the report at trial.

           To the extent Wilhelm’s other experts rely on Dr. Jerner’s report, however, and to the

   extent such reliance is consistent with the practice in these experts’ respective fields, the court

   concludes that it is appropriate to allow a discussion of his findings or opinions through those



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   other experts. Fed. R. Evid. 703 (permitting expert opinion to be based on inadmissible evidence

   if it is “of a type reasonably relied upon by experts in the particular field in forming opinions of

   inferences upon the subject”); see Bouygues Telecom, S.A. v. Tekelec, 472 F. Supp. 2d 722, 728

   (E.D.N.C. 2007) (discussing Rule 703 and explaining that while an expert cannot be “the

   mouthpiece” for another expert, he is entitled to rely on data provided by another where that data

   would be relied upon by experts in the relevant area). This is particularly true in this case, given

   that Dr. Jerner was the only expert of Wilhelm’s who had the opportunity to observe and record

   observations from the destructive testing of the subject tree step. Thus, to the extent Dr. Baron

   or other experts are relying on data or other supported opinions from Dr. Jerner’s report (and can

   testify that doing so is generally accepted in their respective fields), the court will not exclude the

   testimony simply because is it based on or incorporates portions of Dr. Jerner’s report.

          2. Defendants’ motion in limine to exclude or limit Robert West, Jr., Ph.D.

          Dr. West is a mechanical engineer and professor at Virginia Tech who testified at length

   at the hearing. His opinions are based almost entirely on a specific methodology that he used to

   reach his opinions: finite element analysis. Specifically, he developed a computer model using

   certain measurements and known information and then ran the model with a number of different

   scenarios (by using different variables and combinations of variables). From this, the model

   predicted the circumstances under which the subject tree step might break. Perhaps Dr. West’s

   most important opinion is that, due to the inclusion and other characteristics of the metal tree

   step, the tree, and the possible forces acting upon them, it is possible that the tree step could have

   broken in the location of the inclusion—which is where it did break—even if Wilhelm had fully

   installed it. Notably, this is an opinion that is directly contradicted by defendants’ expert,

   George Saunders.



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              According to Dr. West’s report and his testimony at the hearing, finite element analysis is

   an accepted methodology in the field of mechanical engineering and it is a particularly

   appropriate approach to a failure problem with a number of unknown variables, such as the

   problem here. Dr. West explained the methodology in some detail during his testimony.

              Defendants raised no real challenge to the use of that method itself, other than to argue

   that it was not “real-world testing” and that their own experts “proved”—using what they call

   real-world testing—that the step could not have broken unless it was only partially installed and

   a dynamic load acted upon it. Based on Dr. West’s testimony and the failure of defendants to

   present information calling into question the appropriateness of the methodology itself, the court

   finds that the methodology is a generally accepted methodology for addressing the specific

   problem here and does not find that it should be excluded on the grounds that it is not real-world

   testing.

              Defendants’ second challenge to Dr. West’s opinions is that his results are based on

   incorrect data and assumptions. Specifically, while not challenging the specific formulas used in

   his model, they quote their own expert in saying that the results are only as good as the data

   plugged into Dr. West’s formula, and here, that equates to “garbage in = garbage out.” (Defs.’

   Mem. Supp. Mot. Summ. J. 13, Dkt. No. 130, at 18.) The most notable of these was defendants’

   assertion that the model created by Dr. West used an incorrect measurement of the diameter of

   the fracture location. (Id. at 13–14, Dkt. No. 130, at 18–19.)

              Dr. West insisted, however, that he and Dr. Dowling, a co-author of several expert

   reports, both independently measured the surface using precise instruments, and he insisted that

   the diameter used in their model was accurate. When questioned about this at the hearing, Dr.

   West offered some possibilities as to why the measurement might appear different than what is


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   shown in the two pictures upon which defendants rely heavily. As to one of the pictures, he

   noted that his model used the measurement of 7.65 as the load-bearing portion of the fractal

   surface, what he called the diameter of the thread root. He explained that his analysis used the

   thread root diameter as opposed to the fracture surface diameter “[b]ecause that is the section of

   the material that is carrying the load.” (Tr. of Dr. West testimony from Daubert hearing 61, Dkt.

   No. 225.) Put differently, the fracture surface includes a portion of the tree step that is not

   carrying the load. And he explained that, “[a]s the structure starts to fail . . . it will go in what

   requires the less expense of energy.” (Id. at 62.) With regard to the second picture, Dr. West

   essentially explained that he believed the picture was taken on an angle and he noted that the

   picture made it difficult to determine whether a certain area was part of the thread root. (Id. at

   58.)

           In short, he has offered explanations for the differences between the data he used and the

   pictures relied upon by defendants, and those explanations are not based merely on his say-so.

   He also notes that Saunders, defendants’ expert, also measured the root diameter of the thread as

   7.65 mm. While defendants are free to pursue vigorous cross-examination on this topic, the

   court cannot say that the analysis is so flawed as to be unreliable and inadmissible, based on the

   supposed discrepancies.

           Defendants also take issue with what they deemed Dr. West’s “inability” to identify the

   loads and stresses that are placed at various locations along the tree step. But Dr. West offered

   opinions regarding the likelihood of failure based on a number of different variables, and those

   were contained in his reports. The court finds these are adequate, under his theory and testing, to

   allow the jury to hear his opinions.




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            The court also is not concerned that Dr. West did not test the precise metal from the

   subject tree step or the exact limb of the tree into which it was inserted. Instead, Dr. West

   utilized values he obtained through testing or data from others with experience, and he used a

   range of values in his report based on the information provided to him. Thus, the court does not

   find that there was a failure to adequately recreate the conditions that existed. As discussed

   below, Wilhelm directs similar criticisms at Saunders’s testing, arguing that his exemplars could

   not have perfectly recreated the circumstances that existed. But the finite element analysis was a

   reasonable—and scientifically valid—approach to trying to recreate those values.

            At the hearing, defendants’ counsel also maintained the argument that Dr. West’s lack of

   experience with the product and “not knowing how it work[s]” rendered him unqualified to offer

   his opinions.6 Defendants made a similar argument in their motion to exclude the testimony and

   opinions of Dr. Baron. They effectively argue that the experts’ lack of experience in analyzing a

   tree step (or related or similar products) render them unqualified to offer opinions here. The two

   cases that the parties focused on for purposes of this issue were Pugh v. Louisville Ladder, Inc.,

   361 F. App’x 448 (4th Cir. 2010), and Sittig v. Louisville Ladder Group, LLC, 136 F. Supp. 2d

   610 (W.D. La. 2001), both of which involved ladders. The plaintiff in Pugh alleged that he was

   injured after the ladder he was standing on buckled and caused him to fall. He asserted that the

   ladder had a manufacturing defect consisting of microscopic cracks, while defendant argued that

   the cracks were created from plaintiff’s body falling onto the ladder. The Fourth Circuit held

   that the district court did not abuse its discretion in allowing expert testimony from two

   mechanical engineers in that case, and it specifically rejected defendants’ argument that the




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              Specifically, defendants argue that that Dr. West’s lack of knowledge of the tree step, especially when
   coupled with the allegedly improper testing and calculations, rendered Dr. West unqualified.

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   experts’ conclusions were unreliable because they failed to perform a number of tests and types

   of analysis, including computer modeling.

          In Sittig, on which defendants rely, the district court excluded the testimony of two

   experts after finding that they lacked sufficient experience with the ladder at issue. Defendants’

   reliance on Sittig is misplaced. There, a district court did not allow proffered experts—with

   Ph.D.s in mechanical engineering and biomechanical engineering, respectively—to testify in the

   field of “ladder design.” The court noted that they had not worked for ladder manufacturers, had

   no experience or specific scholarship related to ladder design, ladder safety, or ladder warnings,

   had not conducted any research or inquires into the area of ladder warnings, and lacked basic

   knowledge about the different types of ladders (Type I, II, or III) and which type was involved in

   the case. 136 F. Supp. 2d at 618–19. Thus, despite their impressive academic credentials, the

   court found they had no expertise that “fit” the case.

          This case, however, is not Sittig. First of all, and critically, Sittig involved a design

   defect claim while this case involves a manufacturing defect claim. For a design defect claim, it

   makes sense that an expert opining on an improper design of a product must know a lot about the

   product itself and its various designs in order to offer an opinion about whether a particular

   design was flawed or not. But the experts here are not being asked to evaluate the design of the

   tree step. Dr. West, a mechanical engineer, is testifying about the circumstances under which the

   tree step might break, based on a model that takes into account its properties, the properties of

   the type of tree into which it was inserted, the possible variables of where Wilhelm may have

   stepped and placed his weight, and other factors that could lead to failure. He also took into

   account the specific shape, design, and material of the tree step, and thus his analysis is based on

   the specific product at issue. Moreover, finite element analysis is a type of analysis that he is



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   undoubtedly qualified to perform, regardless of any specific knowledge or experience with tree

   steps specifically. So, even if Sittig were binding on this court, it does not support exclusion

   here.

             Similarly, Dr. Baron, a metallurgist familiar with steel and various types of steel

   generally, is offering opinions about a defect in a type of steel that is similar in properties to

   many other types of steel that he has studied in depth. As he testified, there is nothing unique

   about this particular type of steel: it falls within a specific group or class of steel that all share

   certain properties. He is not offering an opinion that requires an in-depth understanding of tree

   step design, nor any opinion that takes issue with the type of steel used versus some other type,

   which might suggest a need for specific experience with 10B21 steel.

             In short, the court concludes that neither Dr. West nor Dr. Baron should be disqualified

   from offering their respective opinions due to a lack of experience with tree steps generally.

   Defendants’ arguments to the contrary simply draw the requisite “field of expertise” too

   narrowly. Instead, under the facts of this case, specific experience with a tree step is not

   required.7

             In sum, the court concludes that all of the matters raised by defendants in an attempt to

   exclude Dr. West’s opinions may provide fertile ground for cross-examination, but the court

   cannot say that the report or opinions of Dr. West are unreliable such that the court could exclude

   them under Daubert. For all of these reasons, defendants’ motion to exclude Dr. West will be

   denied.

             3. Defendants’ motion to exclude or limit Norman Dowling, Ph.D.

             Defendants also ask the court to preclude or limit Dr. Dowling from testifying in this

   case. Dr. Dowling is a mechanical engineer and colleague of Dr. West’s who worked with Dr.
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                 Defendants’ other challenges to Dr. Baron are addressed separately.

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   West to analyze the tree step from a mechanical engineering standpoint. Drs. West and Dowling

   prepared several joint reports, in which their opinions were presented jointly, although they did

   different aspects of the testing and analysis.

          According to Wilhelm, Dr. Dowling will offer two primary opinions. First, he will testify

   that the testing, calculations, and analysis performed by defendants’ expert Saunders are not

   based on sound engineering principles, but instead are based on unreliable calculations and

   improper techniques, leading to incorrect results about the failure of the subject tree step. (Pl.’s

   Opp’n to Defs.’ Mot. Exclude Norman Dowling 4, Dkt. No. 152.) These opinions are primarily

   set forth in Dr. Dowling’s preliminary report dated September 19, 2017. Second, he will testify

   that the subject tree step, with the defect, would fail or fracture when it was installed fully with

   the heel of the step resting against the bark of the tree. (Id. (citing the West/Dowling report

   dated October 30, 2017, as revised on November 7, 2017, and the West/Dowling supplemental

   report dated May 7, 2018, which responds to Saunders’s supplemental report).)

          Defendants argue that Dr. Dowling’s opinions should be excluded for many of the same

   reasons that they raised with regard to Dr. West’s opinions, e.g., his opinions are based on

   incorrect and flawed calculations and measurements and he did not perform any real world

   testing and so his opinions are speculative. They again rely on the Sittig case to say he does not

   have specific, particularized knowledge. And they assert the same “eyeballing” prohibition from

   the caselaw that they have raised with regard to some of their other Daubert motions. They also

   argue that Dr. Dowling’s opinions are completely cumulative to Dr. West’s. (See generally

   Defs.’ Mem. Support Mot. Exclude Norman Dowling, Dkt. No. 140.)

          Most of the arguments on both sides with regard to Dowling are the same arguments

   raised with regard to Dr. West’s opinions. Thus, they are governed by the same analysis set forth



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   by the court in addressing the motion to exclude Dr. West and will not be repeated here. Also, as

   already noted, the court will not address at this time whether certain testimony is cumulative.

          There is one issue related to Dr. Dowling that has not been addressed elsewhere in this

   opinion, however: the scope of the opinions Dr. Dowling may offer. There are two facets to this

   issue. First, defendants’ motion points out a number of opinions that Dowling has stated he is

   not asserting, and they seek to exclude any opinions on those issues. (Dkt. No. 140 at 9–10.)

   These include: opinions regarding (1) whether there was adhesion of the inclusion and

   surrounding steel; (2) plaintiff’s installation of the subject tree step; (3) the manufacturing

   process; (4) the material of the inclusion or how it got into the steel; (5) the overall design of the

   product; (6) the chemistry or hardness of the steel at issue; (7) accident reconstruction; (8) use of

   the safety harness; (9) warnings; and (10) hunter safety and use of the subject product.

   Wilhelm’s response does not address these ten categories of opinions, and so the court concludes

   that plaintiff does not dispute that Dowling does not intend to offer opinions on these topics.

   Thus, the court will grant the motion insofar as it seeks to prevent Dr. Dowling from offering

   opinions on these topics.

          The second facet of the scope of his opinions is a dispute that arose at the hearing.

   Specifically, the parties dispute whether the opinions in Dr. Dowling’s preliminary report are

   admissible. Both in supplemental filings permitted by the court, and in responding to questions

   of the court at the pretrial conference, the parties addressed in more detail Dr. Dowling’s

   individual preliminary report. This report offers a response to Saunders’s initial testing and

   contains opinions critical of the opinions of defendants’ experts, including Saunders and Dr.

   Vogler. (Sept. 19, 2017 Dowling Report, Dkt. No. 152-2.) It appears undisputed both that it was

   produced to defendants (based on it being attached as an exhibit to Dowling’s depositions) and



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   that it was never converted into a final report.

          Defendants maintain that any preliminary report or opinions of Dr. Dowling or opinions

   from it that were not subsequently included in a formal report should be stricken. (Dkt. No.

   194.) Wilhelm has also submitted a supplemental filing addressing this issue. He attaches

   deposition excerpts from two of Dr. Dowling’s depositions, and, based on them, he argues that

   the opinions in the preliminary report should be permitted.

          With regard to this issue, the court has carefully reviewed the record, the reports, Dr.

   Dowling’s deposition testimony, and the exchanges between counsel during his depositions,

   including the supplemental information provided. The court finds significant an exchange from

   Dr. Dowling’s February 28, 2018 deposition in which he states that he has not yet “done a formal

   report addressing [Saunders’s] reports,” and plaintiff’s counsel says plaintiff intends to have that

   done. Thereafter, in May 2018, Dowling and West authored a joint report responding to

   Saunders’s contentions. Based on this, it could be that the May 2018 joint report was intended to

   be a final report incorporating Dowling’s prior “preliminary” report (Dkt. No. 194 at 2–3

   (quoting February 28, 2018 Dowling Dep. 5–8)), despite the fact that many of the opinions from

   the preliminary report were not contained therein, or at least “[n]ot in a direct way,” as Dr.

   Dowling explained. (Feb. 28, 2018 Dowling Dep. 69, Dkt. No. 201-1, at 7.) Otherwise, no final

   report incorporating those opinions was produced.

          Particularly in light of the indication that a final report would be forthcoming, it is

   understandable that defense counsel did not inquire about opinions in the preliminary report and

   believed they were not going to be offered, at least until incorporated into the forthcoming,

   promised “formal report.” Accordingly, defendants were effectively deprived of the opportunity

   to examine Dr. Dowling on those issues. For this reason, the court will not permit Dr. Dowling



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   to testify as to opinions that appear only in his preliminary report.

          4. Defendants’ motion to exclude or limit Peter Wechgelaer, M.D.

          Peter Wechgelaer is a medical doctor by training, although he is not currently a board-

   certified physician and was never Wilhelm’s treating physician. He worked with Wilhelm for

   approximately three years until his own retirement in 2011, about one year before the accident.

   His most recent past experience was as an “Aeromedical Analyst,” where he analyzed and

   evaluated personnel medical records to determine if a person’s medical condition precluded him

   or her from working safely in a given position. His last job did not require him to practice

   medicine or to perform clinical exams; rather, he was tasked with determining whether an

   individual was able to perform his or her work safely. He testified, though, that he never made

   such a determination with regard to Wilhelm as part of his job. (Wechgelaer Dep. 26–27, Dkt.

   No. 167-2.)

          As summarized by Wilhelm, Dr. Wechgelaer’s opinions are as follows:

                  1) Wilhelm’s performance record prior to the accident indicated a
                  high level of functioning, both cognitively (based on writing and
                  presentation skills) and observations showing he was active,
                  athletic, and a talented photographer;

                  2) The finding by the VA that Wilhelm was 100% disabled would
                  not have precluded Wilhelm from employment; indeed, disabled
                  veterans are given certain preferences in hiring. The 100%
                  disability rating determines compensation and benefit eligibility,
                  not an ability to work at all; and

                  3) Wilhelm’s condition prior to the fall would not have prevented
                  him from gaining employment. His ability to perform after the fall
                  “clearly diminished his physical abilities as well as his
                  comprehension and communication skills.”

   (Pl.’s Opp’n to Mot. in Limine to Exclude Wechgelaer 4–5, Dkt. No. 167.)




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          Defendants claim that Dr. Wechgelaer’s opinions are unreliable because he never

   performed any medical examinations of plaintiff and because his opinions are based on improper

   methodology and pure speculation. In essence, he evaluated plaintiff by reviewing Wilhelm’s

   medical records and then by socializing with him and observing him over the course of one day,

   which occurred in 2017, approximately five years after the accident. Defendants also argue that

   his opinions about the meaning of Wilhelm’s 100% disability rating and his opinion that, prior to

   the accident, Wilhelm would not have been precluded from employment or other physical

   activity based on that disability rating, are speculative.

          As to the first opinion and the first part of the third opinion (which relates to Wilhelm’s

   condition prior to the accident), the court concludes that Dr .Wechgelaer may offer these as

   expert opinions. First of all, as both a medical doctor and a person who reviewed medical files

   and evaluated persons to determine their ability to perform certain jobs, and as a work colleague

   of Wilhelm’s with the ability to observe him, the court concludes that he has sufficient

   experience and knowledge to opine as to Wilhelm’s physical and/or mental abilities and how

   they related to his ability to perform a job, at least up to the time that Dr. Wechgelaer retired.

          With regard to the second opinion—which concerns the meaning of Wilhelm’s 100%

   disability rating from the VA, Dr. Wechgelaer’s deposition testimony suggests that he is familiar

   with VA disability ratings primarily as a result of his own disability rating. (Wechgelaer Dep.

   31–33, 57–58, Dkt. No. 167-2.) He testified that he never worked for the VA, but that he would

   perform separation and retirement physicals for Navy personnel and that those results were then

   sent to the VA and used to determine VA ratings. (Id. at 56–57.) That does not constitute

   “expertise” by training, education, or otherwise, sufficient to qualify him as an expert in the field

   of interpreting VA disability ratings, and his reports do not identify any expertise in that regard.



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   Accordingly, the court will not allow Dr. Wechgelaer to offer any opinions regarding the

   meaning of VA disability ratings.

          With regard to the second part of the third opinion (which relates to Wilhelm’s ability to

   perform work or his physical and mental condition after the accident), the court concludes that

   Dr .Wechgelaer may not offer any expert opinion about this topic. Although he reviewed many

   of Wilhelm’s medical records, he did not have a great familiarity with them during his

   deposition. Dr. Wechgelaer performed no exams or other medical or occupational evaluations of

   Wilhelm and has not shown that a mere review of medical records, along with a brief

   observation during a social visit, is the same type of rigor that would be applied in the field to

   determine a person’s capability to be employed. The mere fact that Dr. Wechgelaer happens to

   be a physician does not render any medical opinion by him admissible. It still must be based on

   methodology accepted in the field. Here, any expert opinion by him as to whether Wilhelm was

   capable of working after his accident would not be based on a sound and reliable methodology.

          Dr. Wechgelaer certainly may testify as a fact witness, however, about what he observed

   during his visit with Wilhelm.

          5. Defendants’ motion to exclude or limit Richard Baron, Ph.D.

          Dr. Baron is a metallurgist who was hired after Dr. Jerner died. His opinions are fairly

   limited in scope. Specifically, Wilhelm offers him to give four opinions: (1) that the tree step

   failed from the presence of an internal nonmetallic inclusion; (2) that the nonmetallic inclusion

   was likely present in the steel casting, or ingot, of the original rod stock used to fabricate the

   subject tree step; (3) review of Dr. Jerner’s file and deposition testimonies revealed no evidence

   to suggest that the involved tree step was misused during the incident; and (4) the 10B21 alloy

   material used to fabricate the tree step did not exhibit any bulk chemical composition or



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   mechanical property deficiencies that contributed to its failure. (Pl.’s Opp’n to Defs.’ Mot. to

   Exclude Richard Baron 4, Dkt. No. 165 (citing June 29, 2018 Baron report, Dkt. No. 165-1).)

           Defendants do not challenge Dr. Baron’s expertise or qualifications to offer opinions

   regarding metallurgy, which is the bulk of his opinions. The court further concludes that he may

   rely on Jerner’s opinions and work because he testified such reliance is typical in his profession.

           Taking the opinions in reverse order, then, defendants have no specific objection to Dr.

   Baron’s fourth opinion insofar as the court can tell, and so he will be permitted to offer that

   opinion. With regard to the third opinion, Dr. Baron has admitted that he has no knowledge or

   opinion as to whether or not plaintiff fully installed the tree step. So, to the extent that his

   opinion about “misuse” includes an incomplete installation, he would not be able to testify that

   there was no misuse. If his opinion is simply meant to be that there is no evidence that Wilhelm

   otherwise misused the tree step, such as by damaging it in some way, then he may offer that

   opinion, but defendants are free to elicit that he has no knowledge about whether it was properly

   installed or not, as he has admitted. With that limitation, the court also finds that the third

   opinion is admissible.

           With regard to the second opinion, which concerns when in the manufacturing process

   the inclusion appeared, the parties agreed at the hearing that the issue had no bearing on any of

   Wilhelm’s claims. Accordingly, that opinion will be excluded as irrelevant.

           Finally, with regard to his first opinion, there are really two parts to which defendants

   object: (1) that the inclusion was nonmetallic; and (2) that the inclusion was the reason the tree

   step failed during use. Defendants object to Dr. Baron offering any opinion that the inclusion

   was nonmetallic, noting that this opinion is significant because a metallic inclusion is likely to

   have some adherence to other surfaces and thus give additional strength at the inclusion site. By



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   contrast, a non-metallic inclusion is less likely to adhere to surrounding steel surfaces. But a

   review of Dr. Baron’s report reveals a number of reasons for his conclusion that the inclusion

   was nonmetallic, and they are based on examinations of the subject tree step and an application

   of metallurgical principles. Thus, while it is true that Dr. Baron admitted he could not determine

   the precise material that made up the inclusion, he nonetheless offers specific reasons, backed by

   data and observations, as to why he believes the inclusion is nonmetallic. Defendants are, of

   course, free to subject him to vigorous cross-examination as to the grounds for his reasons. But

   the court finds no basis for exclusion of that portion of his testimony.

           With regard to the remainder of his first opinion, which is effectively a causation opinion,

   defendants correctly note that Dr. Baron never performed any testing or calculations to determine

   whether the tree step would have broken if fully installed, even with the inclusion. He also is not

   an engineer, and the support he offers for this proposition is insufficient to render it reliable. In

   short, the court has reviewed his report and deposition and sees little support for his causation

   opinion. Accordingly, he will not be permitted to testify that the inclusion was the reason the

   tree step failed.

           6. Plaintiff’s motion to strike testimony and reports of George Saunders

           Wilhelm’s motion with regard to defense expert George Saunders asks the court to strike

   Saunders’s reports in toto and to preclude him from testifying. Saunders is a mechanical

   engineer, and his opinions largely counter the opinions of Drs. West and Dowling. According to

   defendants, he is also an expert in “treestand hunting accident investigations, treestand warnings

   and instructions, proper and intended uses of treestands, and treestand hunting accident

   causation.” They note that he has investigated over 200 cases involving treestands and

   components and has qualified as an expert in federal and state courts many times, including with


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   regard to warnings and instructions. He established and runs an independent laboratory

   dedicated to pre-production evaluations of treestands, full body harness fall arrest systems, and

   other hunting related products such as tree steps.

            Unlike Drs. West and Dowling, who relied primarily on finite element analysis, Saunders

   manufactured “exemplar steps” to test his theories, although plaintiff challenges the accuracy of

   some of those exemplars, as discussed below. Saunders offers a number of opinions, but

   consolidating and summarizing the opinions listed, Saunders’s primary opinions are that: (1)

   Wilhelm did not fully install the tree step and that, if he had, even with the inclusion, it would

   not have broken; (2) that the tree step was not defective in design and was not unreasonably

   dangerous had it been properly used and installed; (3) that Wilhelm’s misuse was not foreseeable

   to the manufacturer; (4) that Wilhelm would not have fallen if he had his full body harness fall

   arrest system connected to the tree properly and consistently with all the written, video, and on-

   product warnings and instructions of the fall arrest system; and (5) that Wilhelm failed to care for

   his own safety and was responsible for his own injuries because he misused his tree step in an

   unsafe manner.8

            Wilhelm lists eighteen opinions of Saunders and raises various distinct challenges to

   them. The court first briefly discusses the categories of challenges and then gives a summary of

   its rulings as applied to the 18 opinions listed by Wilhelm. The different grounds are addressed

   separately below.




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              The parties have a preliminary dispute about whether Saunders is offering only the 18 opinions stated by
   Wilhelm in his motion (Dkt. No. 143 at 2-4), or whether he also may offer additional opinions. The court agrees
   with defendants that Saunders’s reports identify more than 18 opinions. Specifically, in his first report, dated March
   9, 2017, he identifies 18 opinions, but his second report, dated November 28, 2017, states that his opinions are
   encompassed in that report, the March 9 report, and his deposition. So, it appears that he is offering more than 18
   opinions.

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                   a. Saunders’s methodology and use of exemplars

           Wilhelm does not challenge Saunders’s qualifications (at least as to his engineering

   opinions) but contends that his opinions do not satisfy Daubert. He argues that Saunders’s

   opinions are not based on sufficient facts and data and are not the product of reliable principles

   and methods. With regard to any opinions based on the exemplar testing contained in his initial

   report or first supplement, Wilhelm contends that they are not admissible because he admitted

   that his exemplars did not include a similar inclusion.

           Defendants counter that the initial testing, although the exemplars used did not include an

   inclusion, is nonetheless part of the engineering process of testing. They claim that these tests

   are relevant to show and compare how an intact tree step would perform versus one with a

   simulated inclusion. Thus, they argue that his initial testing, which involved more than a single

   test, is admissible as part of forming the basis for his opinions. It is essentially part of a

   “bracketing” technique that evaluates a series of exemplar tree steps with varying levels of

   damage at the same location as the subject tree step.

           Wilhelm acknowledges that Saunders later went back and revised his opinions by using

   exemplars for which he attempted to recreate the inclusion. But Wilhelm argues that Saunders

   failed to follow proper scientific protocols or standards (including ASTM standards) when

   formulating his testing methods or the inclusion in the exemplars. Wilhelm criticizes the

   resulting exemplars on a number of grounds, and relies on the testimony of Drs. West and

   Dowling to argue that Saunders’s methodology in creating the exemplars was incorrect and

   flawed. In his reply, for example, plaintiff claims that Saunders “did little more than one test,

   with one loading variable, without recreating the subject inclusion properly, on one type of wood

   [and] had no standards of control.” (Pl.’s Reply Supp. Mot. to Strike Saunders 3, Dkt. No. 174.)



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   He contends that finite element analysis is the accepted and preferred engineering method in this

   circumstance because of the numerous tests it can run with many variables.

          The court has considered all of Wilhelm’s objections to Saunders’s methods and testing

   and concludes that none of them require the exclusion of his opinions. While his approach,

   methodology, and testing is different than that employed by Dr. West, and while Dr. West and

   Saunders are critical of the other’s methods, the court cannot say that Saunders’s method of

   creating exemplars and testing them is not sufficiently reliable or accepted in the field. As the

   court views it, Saunders and Dr. West simply have different approaches to trying to address the

   problem, and there are, perhaps, pros and cons to each approach. Those pros and cons are the

   types of issues that can be addressed through cross-examination and the presentation of contrary

   evidence.

                  b. Saunders’ opinions regarding topics other than engineering, including
                     opinions concerning the warnings and instructions associated with the
                     tree step, the tree harness, and the warnings on each

          Wilhelm next argues that Saunders is not an expert in the field of accident reconstruction,

   metallurgy, nor is he a hunter safety expert, and so some of his opinions that touch on these

   topics should be excluded. Wilhelm notes that, although Saunders claims to be a human factors

   expert as it pertains to hunting products, he has no specific training and has taken only basic

   undergraduate level classes in product design. He also asserts that Saunders’s lack of training,

   experience, and education in these areas, combined with a general lack of data, should preclude

   certain of his opinions. Defendants respond that Saunders relied on other experts from other

   fields to support his opinions, and that is permissible.

          The court agrees that Saunders may not merely parrot the conclusion of another expert,

   without adding anything from his own field of expertise. But Saunders may rely on defendants’



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   other expert witnesses, as well as Wilhelm’s own testimony concerning what Wilhelm

   understood about the products or warnings, in order to reach certain of his opinions. See Fed. R.

   Evid. 703 (permitting expert opinion to be based on inadmissible evidence if it is “of a type

   reasonably relied upon by experts in the particular field in forming opinions of inferences upon

   the subject”). Based on the court’s review, Saunders’ opinions fall in the category of opinions

   that occasionally rely on, but then add to, other experts’ opinions. To the extent his opinions

   implicate any claim of design defects, however, there is no longer any design defect claim in the

   case, and so they are inadmissible.

          As part of this challenge, Wilhelm argues that all of Saunders’s opinions concerning the

   tree step, the tree harness, and the warnings on them are inadmissible. According to Wilhelm,

   Saunders offers no scientific foundation for these opinions. He simply opines as to what the

   instructions were, whether they were clear, and the foreseeability of a reasonable person

   following the instructions. He includes a string cite to various cases requiring testing by a

   humans factors expert to offer such opinions. (Dkt. No. 143 at 11.) In his reply, Wilhelm

   concedes that Saunders is qualified regarding the warning labels of tree stands and harnesses, but

   those are not the products at hand and thus are irrelevant. He also claims that Saunders is not

   qualified to opine on the warnings and labels of a tree step and his lack of testing means his

   opinions on this should be excluded.

          Defendants counter that Saunders has testified repeatedly about his analysis concerning

   warnings and instructions and whether those warnings and instructions were followed. He is a

   voting member of the Treestand Sub-Committee of ASTM, which is tasked with reviewing

   treestands and their components, as well as the warnings and instructions that accompany them.

   They describe plaintiff’s argument that he is not qualified to offer such opinions as “absurd.”



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          Given his qualifications and expertise in creating and evaluating warning labels of

   products including tree steps, and the court’s rulings on in limine motions allowing evidence of

   other products used by Wilhelm and allowing evidence regarding Wilhelm’s knowledge of

   products and review of manuals and warnings, the court concludes that opinions on these topics

   are relevant, and would be helpful to the trier of fact. Although plaintiff challenges that such

   opinions are not admissible due to a lack of “testing” or a “scientific basis,” he has not identified

   what types of testing should be done and he has not challenged any specific opinion as

   unreliable.

                  c. Opinions critiquing finite element analysis

          Wilhelm next contends that Saunders should not be able to offer opinions criticizing the

   finite element analysis performed by plaintiff’s experts, because he is not sufficiently familiar

   with the model used or how the values he criticizes were incorporated into that model. He also

   contends that Saunders is not an expert on finite element analysis, is not “comfortable enough” to

   build a model on it, and as such, he should not be permitted to offer opinions on the propriety of

   the finite element analysis used by Drs. West and Dowling. The court disagrees. Saunders

   testified that he was not comfortable with using the software package that Dr .West used in the

   analysis, but he also testified that he understood the type of analysis employed and its purposes.

   Additionally, his reports offered specific critiques of the model and the data used by Drs. West

   and Dowling. The court will allow these opinions.

                  d. Legal conclusions couched as opinions

          Wilhelm also argues that many of Saunders’s opinions constitute legal conclusions and

   are inadmissible on that basis. As all the parties here recognize,

                  expert opinions that merely recite “a legal standard and draw[ ] a
                  legal conclusion by applying law to the facts is generally

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                  inadmissible.” United States v. McIver, 470 F.3d 550, 561–62 (4th
                  Cir. 2006) (citing United States v. Barile, 286 F.3d 749, 760 (4th
                  Cir. 2002)). An expert’s testimony is deemed a legal conclusion
                  where “the terms used by the witness have a separate, distinct and
                  specialized meaning in the law different from that in the
                  vernacular.” Id. at 562. The district court’s task “is to distinguish
                  [helpful] opinion testimony that embraces an ultimate issue of fact
                  from [unhelpful] opinion testimony that states a legal conclusion.”
                  Barile, 286 F.3d at 760.

   JFJ Toys, Inc. v. Sears Holdings Corp., 237 F. Supp. 3d 311, 324 (D. Md. 2017).

          Wilhelm objects to opinions 8, 10, and 12–18 on this basis, and also references opinion 6

   in one part of this argument. Defendants respond that Saunders’s opinions involve him applying

   his background, training, and expertise to his review of known information, which he is

   permitted to do. They argue that his opinions “will assist the jury to understand the evidence and

   determine facts at issue, as expert testimony must.” Furthermore, defendants’ counsel expressed

   at the hearing that he would not attempt to elicit opinions from any expert that called for a legal

   conclusion.

          Applying the foregoing standards to Saunders’s opinions, the court agrees that some of

   those opinions track Virginia model jury instructions or use legal terminology in a way that

   render them inappropriate expert opinions. For example, he may not offer any opinion that

   Wilhelm’s misuse “was not foreseeable” to defendants, that his misuse or that Wilhelm failed “to

   use reasonable care to ensure his own safety.”

                  e. Opinions regarding dynamic loading

          Wilhelm also challenges Saunders’s opinions on dynamic loading as “irrelevant,

   misleading, not based on record evidence, and unreliable.” This is mostly because Saunders

   performed no testing or calculations to test his theory that a “dynamic load” (e.g., Wilhelm

   falling) must have operated on the subject tree step for it to break. In response, defendants state



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   that any additional testing regarding a dynamic load was unnecessary. Instead, they contend that

   there are only two loading possibilities: static loading and dynamic loading. Because Saunders

   “fully evaluated the static realm of loading and determine that it will not result in separation of

   the tree step[,] [t]he only other possibility . . . . would be dynamic loading.” (Defs.’ Opp’n to

   Pl.’s Mot. to Strike Saunders 19, Dkt. No. 157.)

          The court agrees with defendants’ reasoning and so concludes that Saunders may offer an

   opinion concerning dynamic loading. His opinion that the subject tree step, if fully installed,

   could only have broken had a dynamic force acted upon it is simply the logical corollary to his

   opinion that the tree step would not have and could not have broken if fully installed by any

   amount of static force. Put differently, his opinion about dynamic loading is the result of a

   process of elimination of the possibility of a static load, causing the failure. Thus, the fact that

   Saunders did not conduct testing of dynamic loads specifically does not render the opinion

   inadmissible.

                   f. Opinions within the common knowledge of jurors

          Lastly, Wilhelm claims that certain of Saunders’s opinions are within common

   knowledge of the jurors and thus not proper subjects of expert testimony. According to

   Wilhelm, that includes the opinions Wilhelm identifies as 1–7 and 9. Defendants respond that

   Saunders’s decades of experience with engineering, as well as his vast experience with hunting,

   treestands, and treestand component products, will assist the triers of fact, many of whom will

   not be familiar with engineering or hunting or the components used.

          The court concludes that most of the opinions identified by plaintiff are not within the

   common knowledge of jurors and that expert testimony would be helpful to the trier of fact.




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   Given Saunders’ vast experience with hunting products and their safe use, warnings associated

   with such products, and his accident reconstruction experience, he may offer such opinions.

                    g. Specific rulings as to 18 listed opinions

           Consistent with the reasoning above, the court will allow the following opinions, as

   numbered by Wilhelm: 1–7, 9, the first part of 10, 11, 14, 17.

           Opinions 8, 13, 15, 16, and 18 will be excluded because they are legal conclusions. The

   second part of 10 may be excluded depending on the wording. In particular, Saunders may not

   offer a causation opinion using legal terminology. Opinion 12 is now irrelevant, based on the

   dismissal of a design defect claim, and so that will also be excluded.

           7. Plaintiff’s motion to exclude Michelle Vogler

           Michelle Vogler, Ph.D., is a metallurgist and she (along with Jerner, plaintiff’s now-

   deceased metallurgist) engaged in destructive testing of the subject tree step. Although

   plaintiff’s motion seeks to strike her report and her testimony in toto, his motion challenges only

   four specific opinions of Vogler, as numbered by plaintiff.9             At the outset, moreover, the court

   notes that Vogler is clearly an expert in the field of metallurgy, and plaintiff does not argue to the

   contrary. Notably, moreover, her opinions are based almost entirely on data she gathered from

   the destructive testing that she and Dr. Jerner jointly performed and her observations and reports

   from that testing. Wilhelm does not challenge her methodology nor her observations directly.

                    a. Opinions within common knowledge of jurors

           First, Wilhelm challenges what he identifies as opinion 3, in which Dr. Vogler opines that

   evidence of tree material embedded in the subject tree step indicates that the tree step was only

   inserted into the tree at the time of the accident up to the location of the fracture, which


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             There is, again, a preliminary issue that seems needlessly confusing concerning what opinions each side
   contends Vogler is offering. But in any event, the only opinions Wilhelm challenges are the four discussed herein.

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   installation was improper and contrary to the product instructions/warnings. Wilhelm claims that

   the existence of tree material is obvious from the pictures and is a matter within common

   knowledge of juries. He also points to her testimony in which she agreed that a person who is

   not a metallurgist or material scientist could look at a picture and know with some degree of

   certainty that the fibers were part of a tree and that it would not require an expert opinion to

   know that. He makes the same argument with regard to her opinion about “visual paint smears”

   being only on the portion of the step that goes out to the inclusion. She admits she did not do

   any testing and did not include an opinion about the paint smears in her report.

          As to plaintiff’s argument that the tree fibers and smeared surfaces are within the jury’s

   common knowledge, defendants cite at length to Vogler’s deposition testimony concerning both.

   Her explanation of it contains more scientific reasons regarding why the wood and paint smears

   would be there and discusses what causes the paint smears (a specific type of force on the

   threads as they come into contact with the tree). She observed the paint smears and the wood

   fibers and drew upon her background experience and expertise to arrive at the opinion that the

   tree step had not been completely installed. She is permitted to use her own observations to

   reach such conclusions, without doing any independent “testing.” Her opinions also assist the

   jury because they provide the conclusions to be drawn from the observable evidence, which may

   not be within the common knowledge of jurors. Put differently, the existence of the wood fibers

   and paint smears might be plain to most jurors, but the significance of them may not be. Her

   testimony will assist jurors in understanding the significance.

                  b. Opinions that rely on Saunders’s data or conclusions

          Second, Wilhelm challenges Vogler’s opinions that rely on Saunders’s tests results

   (identified by Wilhelm as Vogler Opinions 3, 5, 12, and 13). He claims that she does not relate



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   any of those opinions to her own expertise, or any analysis of the record evidence or

   independently gathered data. He then argues that she may not just parrot another expert’s

   opinions. Wilhelm also argues that those opinions are inadmissible in any event for the same

   reasons set forth in its motion in limine to exclude Saunders.

          Defendants note that reliance on other experts’ opinions is permissible, and they claim

   that she used his testing and opinions to support her own opinions as an expert metallurgist.

   They claim that Dr. Vogler’s opinions build upon Saunders’s testing and opinions and connect

   them specifically to the field of metallurgy.

          Defendants have the stronger argument on this issue. To the extent Dr. Vogler will

   testify that it is common for metallurgists to rely on the type of information being conveyed by

   Saunders, then it is appropriate for her to rely on that information and to connect it to her own

   expertise. The court will not exclude these opinions.

          8. Plaintiff’s motion to exclude Lorne Smith

          Lorne Smith is offered by defendants as a treestand and hunting investigator. According

   to defendants, Smith is “the most recognized treestand hunting investigator and reconstructionist

   in the United States, and likely the world.” He’s investigated and reconstructed approximately

   500 treestand hunting accident cases over thirty years, and often examined and investigated the

   treestand components such as tree steps and safety harnesses.

          He holds a number of opinions, most of which pertain to Wilhelm’s failure to properly

   use the safety harness and to properly install the tree step, as well as his failure to heed the

   warnings and properly follow the instructions given with each. He also testifies that Wilhelm

   should not have been installing tree steps or using a treestand because of his medical issues.

          Plaintiff’s motion challenges Smith’s qualifications and criticizes him repeatedly for not



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   undertaking any studies or empirical testing, and for never testing or examining Wilhelm’s

   ability to interact with a given piece of equipment. Plaintiff also challenges Smith’s opinions on

   the grounds that they relate to products other than the tree stand (most notably the safety harness)

   and that defendants cannot rely on the warnings of another product to overcome the defect in

   their own. This argument relates to opinions 1–6 and 8–11.

          Plaintiff also asserts that Smith’s opinions are within the common knowledge of jurors

   and that they are not based on any studies, data, or testing, and so the jurors’ own guesses about

   what would have happened are as good as Smith’s. Lastly, plaintiff argues that Smith’s opinion

   15 is a legal conclusion and should be stricken.

          Defendants respond with a lengthy section detailing Smith’s qualifications and

   experience. They also claim that he is entitled to rely on the opinions of other experts (including

   medical doctors) to form his own opinions about whether Wilhelm could safely be using a tree

   step. Finally, they claim that his opinions are not within the “common knowledge” of jurors and

   that opinion number 15 is not an impermissible legal conclusion. The mere fact that he includes

   the language that all of his opinions are given within “a reasonable degree of certainty” does not

   make that opinion a legal conclusion.

          The court agrees with defendants that Smith’s expertise in treestand and other hunting

   accident investigations qualifies him to offer many of the opinions that he proffers. The court

   also finds that his explanations as to the use of the various products will be helpful to jurors,

   especially any that are unfamiliar with the products or with hunting in general.

          There are certain opinions, however, that the court does not believe he is qualified to

   offer. In particular, the court will not allow him to testify that Wilhelm’s medical conditions

   prevented him from using these products. He is not a medical doctor, and he performed no



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   evaluation or examination of Wilhelm that would allow him to opine on Wilhelm’s physical

   condition at the time of the accident.

           Moreover, while he may testify about the warnings that accompany the products that

   Wilhelm was using (or he believes that Wilhelm should have been using), he may only testify

   about how Wilhelm understood the warnings to the extent he is relying on Wilhelm’s own

   testimony. Additionally, the court will not permit Smith to offer any opinions that are merely

   legal conclusions. Again, though, counsel has assured the court that he will not ask for questions

   that call for legal conclusions. Aside from those limitations, Smith’s opinions will not be

   excluded on the other grounds raised in this motion.

   B. Cross-Motions for Summary Judgment

           1. Standard of review

           Summary judgment may be granted if the moving party “shows that there is no genuine

   dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

   R. Civ. P. 56(a). “When faced with cross-motions for summary judgment, the court must review

   each motion separately on its own merits . . . [and] ‘resolve all factual disputes and any

   competing, rational inferences in the light most favorable’ to the party opposing that motion.”

   Rossignol v. Voorhaar, 316, F.3d 516, 523 (4th Cir. 2003) (quoting Wightman v. Springfield

   Terminal Ry. Co., 100 F.3d 228, 230 (1st Cir. 1996)). The party opposing the motion, however,

   “‘may not rest upon the mere allegations or denials of [his] pleadings,’ but rather must ‘set forth

   specific facts’” showing a triable issue. Bouchat v. Balt. Ravens Football Club, Inc., 346 F.3d

   514, 522 (4th Cir. 2003) (quoting Fed. R. Civ. P. 56(e)). Parties may point to such facts by

   “citing to particular parts of materials in the record . . . or . . . showing that the materials cited do

   not establish the absence or presence of a genuine dispute.” Fed. R. Civ. P. 56(c)(1). “If the



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   evidence is merely colorable, or is not significantly probative, summary judgment may be

   granted.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249–50 (1986) (citations omitted).

          2. Wilhelm’s motion for partial summary judgment

          Wilhelm’s motion asks for summary judgment in his favor as to a number of affirmative

   defenses raised by defendants in their answer. Although defendants’ response seemed to indicate

   they were maintaining all of the defenses pleaded in their answer, defendants’ counsel has since

   narrowed the list considerably. Based on counsel’s clarification and concessions, and in light of

   plaintiff’s representation that he is now pursuing only a breach of warranty claim, the only

   remaining affirmative defenses on which Wilhelm could be seeking summary judgment are

   misuse and a failure to mitigate. The court addresses each of these in turn.

              a. Misuse

          In order to prevail on a breach of warranty claim, one of the elements that Wilhelm must

   establish is that the tree step “was unreasonably dangerous either for the use to which it would

   ordinarily be put or for some other reasonably foreseeable purpose.” Evans v. Nacco Materials

   Handling Group, Inc., 810 S.E.2d 462, 246 (Va. 2018). Thus, if a plaintiff is using the product

   in a manner that is not reasonably foreseeable, he cannot prevail.

          As another judge of this court has explained,

                  [u]nder Virginia law, misuse of a product bars claims of breach of
                  warranty. Besser Co. v. Hansen, 243 Va. 267, 415 S.E.2d 138, 144
                  (1992). Misusing a product means using it in a manner which the
                  seller could not have reasonably foreseen. Higgins v. E.I. DuPont
                  de Nemours & Co., 863 F.2d 1162, 1167 (4th Cir.1988). A court
                  may appropriately grant the defendant summary judgment if the
                  plaintiff clearly misused a product, and that misuse was the sole
                  proximate cause of damage or the intervening or superseding cause
                  of damage. Id.

   Fournier Furniture, Inc. v. Waltz-Holst Blow Pipe Co., 980 F. Supp. 187, 190 (W.D. Va. 1997).



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           As noted, defendants’ misuse defense is based on three basic assertions: (1) Wilhelm

   should not have been using the tree step because of his medical conditions; (2) Wilhelm failed to

   screw the tree step fully into the tree; and (3) Wilhelm failed to use his safety harness in the

   required manner, despite knowing the probable consequences of that failure. At the pretrial

   conference, the court ruled that the record was devoid of any evidence that any of Wilhelm’s

   medical conditions caused his fall. Because of the lack of any evidence of causation, the court

   will not allow evidence about whether or not Wilhelm should have been using the tree step in

   light of his medical conditions.

           There is certainly some evidence to support that Wilhelm failed to screw the tree step

   fully into the tree. This comes from the testimony of defendants’ experts and from the physical

   evidence (the wood chips and paint smears only up to the break). Wilhelm has testified to the

   contrary, of course, and his experts (Drs. West and Dowling) will opine that, even with a fully

   installed tree step, this particular tree step with this particular inclusion could have broken. So,

   there is a dispute of fact as to this issue.

           There is also ample evidence that Wilhelm failed to use his safety harness, despite

   knowing the consequences of that failure. Indeed, Wilhelm testified that he knew that he should

   be utilizing a safety harness while installing the tree steps, and he testified that he would not have

   fallen to the ground had he connected a secondary strap before disconnecting his lineman’s belt.

           But Wilhelm also has offered an explanation for why he did not use the secondary strap

   while working around the Y in the tree, i.e., he was instead maintaining “three points of contact”

   between his body and the tree. He also testified that he was concerned about a “suspension

   injury” from the secondary strap, which attaches from the back of the harness, rather than around

   the waist. This, too, creates a dispute of fact as to whether there was a misuse of the tree step (by



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   Wilhelm’s using it in a way not reasonably foreseeable to defendants). Accordingly, regardless

   of whether the facts are viewed in the light most favorable to defendants (to rule on plaintiff’s

   motion) or for plaintiff (to rule on defendants’ motion), the court concludes that there are

   disputes of fact that preclude summary judgment as to the applicability of the misuse defense.

          Plaintiff argues, however, that even if these factual predicates were established, both of

   these uses were reasonably foreseeable to defendants and thus cannot support a misuse defense.

   The court disagrees, based primarily on the Supreme Court of Virginia’s decision in Wood, 462

   S.E.2d 101. As described by the Wood court, the plaintiff there “presented evidence at trial that

   the tree stand collapsed because the stand was defectively designed and manufactured. The

   defendant presented evidence that the tree stand was not defective and that Wood’s injuries were

   caused because, inter alia, he had failed to wear a safety belt when preparing to descend from the

   tree stand.” 462 S.E.2d at 102–03.

          In that case, the court first noted the unavailability of an assumption of the risk claim to

   respond to the breach of warranty claim, but it went on to note that misuse was a defense

   available to respond to a breach of implied warranty claim. It then specifically noted that

   evidence showing that the plaintiff knew it was dangerous to use a tree stand without wearing a

   safety belt, but nonetheless did so, could support a defense that a plaintiff misused the product

   (the tree stand). Id. at 103. Based on Wood, as well as the court’s consideration of other cases

   concerning whether a misuse is foreseeable or not, the court concludes that there is a dispute of

   fact on this issue that the jury must resolve. See, e.g., Tunnell v. Ford Motor Co., 330 F. Supp.

   2d 748, 757 (W.D. Va. 2004) (reasoning that where a plaintiff claimed an automobile had a

   defect that caused it to catch fire after an accident, evidence showing that the driver had been

   drinking and the speed of the vehicle were all relevant, and concluding that whether the



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   operation of the car “amounted to misuse, whether that misuse was foreseeable or not by [the

   manufacturer], and whether, if unforeseeable, that misuse was a proximate cause of the accident

   are all issues for the jury”); Fournier Furniture, Inc. v. Waltz-Holst Blow Pipe Co., 980 F. Supp.

   187, 190–91 (W.D. Va. 1997) (“Whether the product was misused, whether such misuse was

   foreseeable, and whether such misuse caused the product’s failings are questions best answered

   by a jury that has had the opportunity to hear the parties’ fully developed evidence.”).

              b. Failure to mitigate

          For like reasons, the court also concludes that there are disputes of fact regarding

   defendants’ affirmative defense of failing to mitigate, which is based on Wilhelm’s failure to use

   a safety harness.

          3. Defendants’ motion for summary judgment

          Defendants move for summary judgment in their favor, as well, on the same affirmative

   defenses. For the same reasons discussed above with regard to plaintiff’s motion for partial

   summary judgment, the court cannot rule in defendants’ favor as to their affirmative defenses at

   this time. Most of the remainder of defendants’ motion relates to claims that the plaintiff has

   since withdrawn. For example, defendants also move for summary judgment against Wilhelm’s

   failure-to-warn claim, but it is the court’s understanding that plaintiff is no longer pursuing such

   a claim. Accordingly, the court does not address it further.

          Lastly, defendants also seek summary judgment on the ground that plaintiff cannot

   establish a prima facie case of breach of warranty, but again, that argument depends on the a

   finding that there was an “unforeseen misuse” of the product. Because the court concludes there

   are disputes of fact as to whether there was unforeseen use and, if so, whether that use was a

   proximate cause of the accident, summary judgment on this claim will be denied.



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                                       III. CONCLUSION

         Consistent with the reasoning set forth above, the court hereby ORDERS as follows:

         1. Any motion seeking to exclude expert testimony on the grounds that it is cumulative

            is denied without prejudice as to that ground and may be raised again at trial.

         2. Experts will not be permitted to offer opinions not previously disclosed, nor may they

            offer opinions on any subject if an expert testified he had no opinion about that

            subject.

         3. Defendants’ motion to exclude plaintiff’s expert metallurgist R. Craig Jerner, Ph.D.

            (Dkt. No. 131) is DENIED.

         4. Defendants’ motion to exclude or limit Robert West, Jr., Ph.D. (Dkt. No. 133) is

            DENIED.

         5. Defendants’ motion to exclude or limit Norman Dowling Ph.D. (Dkt. No. 139) is

            GRANTED IN PART and DENIED IN PART.

         6. Defendants’ motion to exclude or limit Peter Wechgelaer, M.D. (Dkt. 135) is

            GRANTED IN PART and DENIED IN PART.

         7. Defendants’ motion to exclude or limit Richard Baron, Ph.D. (Dkt. No. 137) is

            GRANTED IN PART and DENIED IN PART.

         8. Plaintiff’s motion to exclude George Saunders (Dkt. No. 142) is GRANTED IN

            PART and DENIED IN PART.

         9. Plaintiff’s motion to exclude Michelle Vogler (Dkt. No. 144) is DENIED.

         10. Plaintiff’s motion to exclude Lorne Smith (Dkt. No. 146) is GRANTED IN PART

            and DENIED IN PART.




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             11. Plaintiff’s motion for partial summary judgment (Dkt. No. 148) is GRANTED IN

                PART and DENIED IN PART. It is granted as to all affirmative defenses except

                misuse and failure to mitigate, insofar as those defenses are based on plaintiff’s

                failure to properly use the safety harness (including the lineman’s belt and secondary

                tree strap) and his alleged failure to fully install the tree step.

             12. Defendants’ motion for summary judgment (Dkt. No. 129) is DENIED AS MOOT IN

                PART and DENIED IN PART. It is denied as moot as to plaintiff’s failure-to-warn

                claim, because plaintiff is no longer asserting such a claim. It is otherwise denied.

   The clerk is directed to provide a copy of this memorandum opinion and order to all counsel of

   record.

             Entered: November 30, 2018




                                                     /s/ Elizabeth K. Dillon
                                                     Elizabeth K. Dillon
                                                     United States District Judge




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